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IN THE UNITED STATES DIs
FOR THE EASTERN DIVISION OF VIRGINIA
RICHMOND DIVISION
KB. |, by her Mother,
SAKIA HALL, as next friend, and
SAKTA HALL,
Plaintiffs,
vs. 3:11-cv-00065-UR5

HAROLD FORD,
Defendant.

DEPOSITION OF ELLENA EBANKS

May 26, 2011

5:34 p.m.

Taken at:

The City Attorney's Office
900 Bast Broad Street, Suite 300
Richmond, Virginia

REPORTED BY: LISA M. KULL, RPR

COOK & WILEY, INC.
Registered Professional Reporters
Post Office Box 14582
Richmond, Virginia 23221

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ELLENA EBANKS, called by the Defendant,

after being duly sworn, testified as follows:

EXAMINATION BY MR. CORRIGAN:

Q Ma'am, would you state your full name,
please?

A Elliena Marie Ebanks.

Oo Ms. Ebanks, what do you do for a Living?

A I'm assistant principal for Fairfield >
Court Elementary School.

Q How long have you been a --

A This is my second year.

QO -- principal? Make sure you let me
finish before you start. So we are not talking at
the same time.

How long have you been employed by the
Richmond Public Schools?

A 28 years.

QO 28 years?

A Yes, sir.

Oo For the other years what did you do?

A Grade school teacher.

Q So you have a lot of experience in this

age group?

A Yes, sir.

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i Q Do you recall what happened on May 23,
2 2010 shortly before noon?
3 A Yes.
4 Q What do you recall?
3 A I recall that Ms. Edwards-Carter summoned
6 the support of the administration. So I was
7 notified by the secretary that she needed him.
8 The principal was then involved with a visitor.
$ So I decided I would go down.
10 At that time, coming out of the office,
11 Officer Ford walked in because he was there to
12 visit with one of his mentees on that day. And we
13 met in the hall, in the lebby. I told him I was
i4 on my way to a class, that the teacher seemed to
15 be struggling. He said okay. I said you can walk
16 with me and he did.
i When we got there, I believe there was a
18 young man standing near the telephone in her room
is which is at the door. There was another one, a
20 couple in the back walking around and, of course,
21 the class was not in control.
22 When I stepped in, some got quiet. And
23 then I said, Mrs. Carter, how could I help you.
24 And she told me that they were being unruly. S50 I
25 quiet the class down.

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Q Before that, do you recall seeing two
girls, one of whom was K.®. +, scrambling
over a workbook?

A Yeah. Right to the front. Because I
opened the door.

Q Did you know K.8, . ?

A I did know: R.®.

Qo How did you know her?

A I previously knew her because she had an
altercation with a student. And she said the
student, this is the beginning of the school year,
probably closer to September, had taken something
from her. So I tried to support her.

Q Okay. And had KB. i had problems
with her behavior as 4 student generally?

A Yes. Yes. “She had problems with her
behavior.

Q What type of problems did she have?

A Usually non-compliance, not being able to
follow directions, not respecting authority.

Q Did she have a counselor?

A She did have a counselor.

Q I am sorry. Go ahead. You were saying
you had started talking to the classroom?

A Right. But, I allowed Ms. Carter to tell

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me some of the problems that was taking place in
her classroom. She expressed that she had not had
language arts and they couldn't progress and so
on. Then I addressed the entire class. Talked
about education, the importance of respecting, the
students were responsive. They started saying I
am sorry. 6. was the only student that was not
responsive to what was happening. But, I
redirected her a couple of times.

Q What was she deing when you say she
wasn't responsive?

A Mumbling under her breath. Moving her
desk around. Pushing away from the desk. That
sort of thing. Still trying to reach over to the
little girl with the workbook. I re-directed her
a couple of times.

I told Ms. Carter, how do you want me to
help. She said she really wanted to finish my
language arts, but I am going to use humanities to
do it. Which is a type of music art. I said
okay, that works well. You should do your
language arts. And at that point |_x.@. she became
very outspoken and unruly. I am not going to do
that, why are we going to have this. Redirected

her again. And she settled down for a little bit.

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1 I said to Officer Ford, would you like to
2 make some comments to the children about the
3 performance of what we are talking about and the
4 discipline. And, again, she interrupted with the
5 mumbling, the pushing of the desk, the sucking of
6 the teeth. So he addressed her and he said is
q there something you would like to say. And she
g said I don't care, she carried on a bit. And he
2 said why don't you step out and express yourself
10 outside.
ii Q Was he respectful toward her?
12 A Yes.
13 0 Did she go out?
i4 A She went out.
15 Q Then what happened?
16 A I followed out behind them. The rest of
i the class seemed to be on task. And I followed
18 out behind her. And she got -- did not want to
19 listen at the wall where he was. At that point it
20 was about lunch time. So the kids were coming
21 down the hall.
22 Q Other kids from other classes?
23 A Oh, yeah. Going to lunch at that time.
24 So he asked her to move, he said let's move to the
25 side of the wall. Calm down, it is okay, it is

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